                                                                          DISTRICT OF OREGON
                                                                               FILED
                                                                             January 08, 2020
                                                                       Clerk, U.S. Bankruptcy Court



         Below is an order of the court.
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                                                         _______________________________________
 6                                                                 PETER C. McKITTRICK
                                                                   U.S. Bankruptcy Judge
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 9                               UNITED STATES BANKRUPTCY COURT
10                                  FOR THE DISTRICT OF OREGON
11   In Re:                                        )
                                                   ) Bankruptcy Case No.
12   PETER SZANTO,                                 ) 16-33185-pcm7
                                                   )
13                                                 ) ORDER
                                                   )
14                                Debtor.          )
                                                   )
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16        Nicholas Henderson filed six proofs of claim (the Claims) on behalf
17   of his clients (Claimants) in February of 2018.             See Claims 8-13.          Debtor
18   filed objections to the Claims in August of 2019, giving rise to a
19   contested matter in this bankruptcy case.
20        In August of 2016, Debtor filed a chapter 11 petition.1                  A little
21   over one month after he filed his chapter 11 petition, Debtor filed a
22   complaint against Claimants in this Court, initiating Adversary
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               The Court entered an order converting Debtor’s case to chapter
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     7 in December of 2017.

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 1   Proceeding 16-3114-pcm (the AP).2       Claimants asserted counterclaims for
 2   wrongful use of civil proceedings and a determination that Debtor is a
 3   vexatious litigant (the Counterclaims).           The Court held a trial on the
 4   Counterclaims in late August of 2019 and entered judgment in November.
 5        Because of the unusual procedural posture of this contested matter
 6   arising on the eve of the AP trial and the overlapping nature of at least
 7   some of the Claims, the Court has endeavored to obtain clarification from
 8   Mr. Henderson about what claims remain to be determined in the contested
 9   matter following resolution of the AP.
10        In response to correspondence from the Court dated November 26,
11   2019, Doc. 854, Mr. Henderson uploaded correspondence dated December 4,
12   2019 (the Letter).    Doc. 859.   Mr. Henderson states in the Letter that
13   “it appears that the only issues left to be tried in this contested
14   matter are claims for Wrongful Use of Civil Proceedings (“WUCP”) and
15   Intentional Infliction of Emotional Distress (“IIED”) based on the
16   Debtor’s wrongful filing of the Adversary Proceeding.”
17        For the reasons stated on the record at a hearing held on January 7,
18   2020,
19        IT IS HEREBY ORDERED:
20        (1)   No later than January 24, 2020, Mr. Henderson shall file
21   amended proofs of claim for each Claimant.          To the extent a Claimant
22   asserts a claim based on the damages awarded in the AP, the amended proof
23   of claim shall specify the amount that is attributable to the judgment
24   entered in the AP.    To the extent a Claimant asserts a claim in addition
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          2
               There was an additional defendant in the AP who is not
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     pertinent to the issues currently before the Court.

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 1   to the damages awarded in the AP, the amended claim shall set forth,
 2   separately, with specificity and in numbered paragraphs, each legal basis
 3   asserted and the facts alleged in support of each such remaining claim.
 4        (2) No later than January 24, 2020, Mr. Henderson shall file a brief
 5   addressing the following:
 6        (A)   Whether any remaining claims for WUCP and IIED are personal
 7        injury tort claims within the meaning of 28 U.S.C. § 157(b) and
 8        whether personal injury tort claims must be immediately transferred
 9        to the United States District Court for the District of Oregon or
10        whether this Court has the authority to retain the matter up to and
11        including the lodging of a final pretrial order or to issue proposed
12        findings of fact and conclusions of law.
13        (B)   Whether Oregon law allows a claim for IIED based on the use of
14        court process.
15        (3)   No later than March 26, 2020, Debtor shall file any objections
16   to the amended proofs of claim.         Debtor shall file his objections using
17   Local Bankruptcy Forms 763.1 and 763.3 and may include an attachment of
18   no more than five pages.     Also no later March 26, 2020, Debtor shall file
19   a brief in response to the brief to be filed by Mr. Henderson that is
20   described in paragraph (2) immediately above.           Because Debtor is being
21   provided with an extended period of time to file his objections and
22   responsive brief, and because adjudication of the Claims is necessary for
23   administration of this chapter 7 case to conclude, no extensions of time
24   will be granted.
25        (4)   The claims and objections to be adjudicated in this contested
26   matter will be limited to those specified in the amended proofs of claim


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 1   and objections thereto that are timely filed in accordance with this
 2   order.
 3                                           ###
 4   cc:   Peter Szanto (via ECF)
           Nicholas Henderson (via ECF)
 5         Gary Blacklidge (via ECF)
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